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     Attorney for Defendant
5    NOEL CASTILLO
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       ) No. 1:09-cr-00104 LJO
12                                   )
                    Plaintiff,       ) STIPULATION AND ORDER
13                                   )
          v.                         )
14                                   )
     NOEL CASTILLO,                  )
15                                   )
                    Defendants.      )
16   _______________________________ )
17
           Defendant NOEL CASTILLO, through his attorney ROBERT L. FORKNER, and
18
     the United States, through its counsel, Assistant United States Attorney KAREN A.
19
     ESCOBAR, hereby stipulate and request the following:
20
           1. That the Court continue the sentencing in the above-captioned case from August
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     26, 2011, to September 23, 2011, at 9:00 a.m.
22
           2. The defense has requested the continuance due to his unavailability and to allow
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     the defendant to resolve and finalize personal matters before he is sentenced and
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     transported to a Federal Prison.
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26
27
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              Case 1:09-cr-00104-LJO Document 112 Filed 08/12/11 Page 2 of 2


1                                                Respectfully submitted,
2
3          Dated: September 17, 2009
                                                 /s/ Robert L. Forkner
4                                                ROBERT L. FORKNER
                                                 Attorney for Defendant
5                                                NOEL CASTILLO
6          Dated: September 17, 2009
                                                 /s/ Karen A. Escobar
7                                                KAREN A. ESCOBAR
                                                 Assistant United States Attorney
8
9
10
11                                            ORDER
12   Good Cause exists for the request and stipulation to continue.
13   IT IS SO ORDERED.
14   Dated:     August 12, 2011            /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
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